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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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Donald J. Trump, et. al Civil Action No. 1:19-cv-1186-APM

Plaintiffs Motion For Leave To File An Amicus
Brief

Elijah E. Cummings, et. al.

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Defendants
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NOW COMES, Duane Morley Cox, Pro Se and files this Motion for Leave To
File An Amicus Brief.
Nature Of Movant’s Interest

Movant’s interest is based upon his concern that the Subpoena issued by
Chairman Cummings to Mazars USA LLP, if upheld, by the Court will operate to:

a) “abdicate the responsibility placed by the Constitution upon the
judiciary to insure that the Congress does not unjustifiably encroach
upon an individual’s right to privacy ...” Chief Justice Warren,
Watkins, 354 U.S. 198-199

b) de facto create a new requirement for any/all Presidential candidates
which requires them to submit or otherwise make available not only
their personal tax returns but also “All” of their financial records for
public scrutiny as a condition of their candidacy - even though the U.S.
Constitution, Article II, Section 1 has no such requirement.

Cc) “distract a President from his public duties, to the detriment of not
only the President and his office but also the Nation that the
Presidency was designed to serve.” Nixon v. Fitzgerald, 457 U.S.

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731 @ 753 (Opinion by Powell) and thereby “put the Public Interest
At Risk” which qualifies President Trump for Absolute Immunity.

d) will sustain the reliance of Congress on “False” allegations and ignore
conduct which appears to Amicus to be contrary to Amendments IX &

X as well the Oath of Office, which conduct by Congresspersons is
perhaps even treasonous.

Parties Supported

This Brief will be in support of Donald J. Trump et. al., Plaintiffs.
Reasons Brief Is Desirable

Amicus Brief is desirable in order to hear from a member of the general
public who sincerely believes that President Trump is being improperly maligned
and subjected to a Treasonous Conspiracy which threatens to undermine the will of
the people who voted Donald J. Trump into office in order to “Make America Great
Again” because of the crushing effect of the 2008 market drop where my wife lost
94% of her 401K asset value, and the catastrophic changes in banking laws enacted
by the prior administration which reduced my wife’s dividends from $0.44 per
quarter per share to $0.01 per quarter per share - reducing her income to only her
social security check. Contrasted with today where between election day and today,
my wife’s 401K value has increased by 70% or $200,000 while her dividends have
increased from $0.12 to $0.30 per quarter per share, and her oil royalties have
increased from next to nothing to over $900 a month thanks to reduced regulations,
horizontal drilling technology and fracking. Such that today, my wife’s gross
annual income is now approximately 3-4 times what it was when Trump was

elected. And I have benefitted similarly. Trump’s Presidency is threatened, and he
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has helped us greatly, so he deserves whatever support we can provide.
Why Movant’s Position Is Not Adequately Represented

Arguments are in the eye of the beholder. Plaintiffs focus seems to be on
legal considerations to the exclusion of Constitutional considerations such as the
limited but sufficient requirements to be President of the United States (Art. IT,
Sect. 1 of the Constitution), protections reserved to the Individual or State under
Amendments IX & X, and the considerations pertaining to Absolute Immunity from
harassment which harassment is designed to “drown Trump with investigations’ or
“turn Trump’s life upside down”, or “make Trump’s life a living hell”, all of which
improperly place the Public Interest At Risk as held in Nixon v. Fitzgerald, 457
U.S. 731 (Opinion By Powell) Thus Movant’s brief is of significance and
important to the issue being decided.
Why The Matters Asserted Are Relevant

The Subpoena in question by Chairman Cummings is based upon a false
witness by Mr. Cohen, and would operate to create a new requirement for the office
of President without going thru the Constitutionally mandated amendment process,
is part of a Conspiracy to destroy President Trump and his Presidency thereby
putting the Public Interest at Risk which in the opinion of Justice Powell is
grounds for Absolute Immunity - which arguments are relevant to the ultimate
resolution of this case.
The Position Of Each Party

Amicus prepared a Notice of Intent to file an Amicus brief which was faxed to
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all parties to the complaint. There-in, Amicus disclosed his significant history in
legal matters, disclosed that his Brief would support Plaintiffs, and requested
Notice if any of the parties would be opposing the proposed brief. And there-in
stated that if no objections were received by e-mail by a specified date, that it would
be presumed that there was no objection. No objections were received by the
specified date or subsequent there-to. Thus it is reasonably concluded that none of
the parties to this case will object to the filing by Amicus of his Brief in Support of
Plaintiffs.
Oral Arguments

Movant, Duane Morley Cox does not seek to participate in Oral Arguments.
Proposed Order

A Proposed Order by the Court allowing Duane Morley Cox of 1199 Cliffside

Dr., Logan, Utah 84321 to file an Amicus Brief in this pending matter is attached.

Lo cenn Poly Opt 7 May 2019

Duane Morley Cox, PrgSe Date
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Certificate Of Service

I, Duane Morley Cox, Pro Se, does hereby swear that on FF May 2019, that I

did serve a true and correct copy of the attached Motion For Leave To File An

Amicus Brief to the below listed parties by first class mail, postage pre-paid.

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